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                                     UNITED STATES DISTRICT COURT
                                     EASTERN DISTRICT OF LOUISIANA

 UNITED STATES OF AMERICA                                         CRIMINAL NO. 19-219

 VERSUS                                                           SECTION : L (2)

 DAMIAN K. LABEAUD, LUCINDA THOMAS, MARY                          VIOLATION: 18:371, 18:1343, 18:2
 WADE, JUDY WILLIAMS, DASHONTAE YOUNG,
 GENETTA ISREAL, MARIO SOLOMON and
 LARRY WILLIAMS

                          NOTICE OF REARRAIGNMENT - LARRY WILLIAMS

Take Notice that this criminal case has been set for REARRAIGNMENT on THURSDAY, JANUARY 30,
2020, AT 2:00PM, before Judge Eldon E. Fallon, Courtroom C-468, 500 Poydras Street, New Orleans, LA
70130.

Important: Counsel are hereby notified that any request for the imposition of a Non-Guideline
Sentence must comply with the deadlines established in LCrR 32.1.1E regarding the submission of
motions or letters requesting departures from the Sentencing Guidelines.

Note: Photo I.D. is required to enter the building.
Persons on bond must report to the Deputy U.S. Marshal immediately outside the aforesaid courtroom for
evaluation and search 15 minutes prior to appearance.

 Date: January 9, 2020                                CAROL L. MICHEL, CLERK

 TO:                                                  by: Dean Oser, Deputy Clerk

 DAMIAN K. LABEAUD - Bond                             AUSA: Brian Klebba, Edward J. Rivera, Shirin
 Steven Lemoine, Esq.                                 Hakimzadeh, Maria Carboni
 SteveLem@aol.com
                                                      U.S. Department of Justice – Jared L. Hasten
 LUCINDA THOMAS - Bond
 Michael Riehlmann, Rsq.                              U.S. Marshal
 mgriehlmann@hotmail.com
                                                      U.S. Probation Officer
 MARY WADE - Bond
 Samuel Scillitani, Jr., Asst. FPD                    U.S. Probation Office - Pretrial Services Unit

 JUDY WILLIAMS BOND                                   JUDGE
 Ralph Whalen, Esq.
 ralphswhalen@ralphswhalen.com                        MAGISTRATE

 DASHONTAE YOUNG - Bond                               COURT REPORTER COORDINATOR
 Anna Friedberg, Esq.                                 INTERPRETER: NONE
 afriedberglaw@gmail.com
                                                      Special Agent Robert Orvin
                                                      Federal Bureau of Investigation
 If you change address,
 notify clerk of court
 by phone, 504-589-7686
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